~ Case 2:O5-cr-20233-SHI\/| Document 25 Filed 08/19/05 Page 1 of 3 Page|D 25

IN THE U'NITED S'I`ATES DISTRICT COUR'I`
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTER.N DIVISION

 

UNI'I'ED STATES OF AMERICA
Plaintiff,

Criminal No. O_.g- MBB'Ml

(30-Day Continuance)

V.

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Defendant(S).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23. 2005, With trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 19w~day of August, 2005.

Thls document entered en the docket ?'\eet in compliance
with Rule 55 and/er 32{5) FRCrP on ‘ “O g

Case 2:O5-cr-20233-SHI\/| Document 25 Filed 08/19/05 Page 2 of 3 Page|D 26

so ORDERED this 19th day of August, 2005.

9mm

JO PHIPPS MCCALLA
UN TED STA'I`ES DIS'I'R.ICT JUDGE

    
 

 

 

Assistant United States Attorney

 

 

 

 

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Co sel for Defendant(s)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20233 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

David Pritchard

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Honorable J on McCalla
US DISTRICT COURT

